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United States of America

                        UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF IDAHO
                             SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                        Plaintiff,             Case No. 1:22-cv-329-BLW

 v.                                            NOTICE OF WITHDRAWAL OF
                                               COUNSEL
 THE STATE OF IDAHO,

                        Defendant.



         NOTICE IS GIVEN that Lisa Newman, co-counsel for Plaintiff United States of

America, withdraws as attorney of record for Plaintiff United States of America in the above-

captioned matter and requests that her name be removed as attorney of record. Special

Counsel Daniel Schwei and Trial Attorney Anna Deffebach will continue as counsel of record

for Plaintiff.

February 5, 2025                      Respectfully submitted,
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                                     /s/ Lisa Newman
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                            CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 5th day of February, 2025, I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system which sent a Notice of
Electronic Filing to all counsel of record.


                                     /s/ Lisa Newman
                                     Lisa Newman
